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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF OREGON
                                    EUGENE DIVISION

   Elizabeth HUNTER; et al., on behalf of            )
   themselves and all others similarly situated,     )
                                                     )       Case No. 6:21-cv-00474-AA
                                 Plaintiffs,         )
                     v.                              )       DECLARATION OF JOSIAH
                                                     )       ROBINSON
    U.S. DEPARTMENT OF EDUCATION and                 )
    Suzanne GOLDBERG, in her official capacity as    )
    Acting Assistant Secretary for Civil Rights,     )
    U.S. Department of Education,                    )
                                                     )
                                Defendants.          )

I, Josiah Robinson, declare:

   1. I am over 18 years of age and have personal knowledge of the matters stated in this
      declaration and would testify truthfully to them if called upon to do so.

   2. I work for the Religious Exemption Accountability Project (REAP) as the Research and
      Public Policy Fellow.

   3. Attached as Exhibit A: Human Rights Campaign, Report: Hidden Discrimination: Title
      IX Religious Exemptions Putting LGBT Students at Risk (2015).

   4. Attached as Exhibit B: REAP, Report: The LGBTQ+ Student Divide: The State of Sexual
      and Gender Minority Students at Taxpayer-Funded Christian Colleges (2021).



JOSIAH ROBINSON DECLARATION                                                                  1
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  5. Attached as Exhibit C: The Trevor Project, National Survey on LGBT Youth Mental
     Health 2021.

  6. Attached as Exhibit D: GLSEN, The 2019 National School Climate Survey: Executive
     Summary.

  7. Attached as Exhibit E: American Psychological Association, LGBTQ Populations:
     Psychologically Vulnerable Communities in the COVID-19 Pandemic (2020).

  8. Attached as Exhibit F: American Psychological Association, Protecting Sexual and
     Gender Minorities in Academic Institutions With Disallowing Policies: Psychological,
     Ethical, and Accreditation Concerns (2020).

  9. Attached as Exhibit G: Association for the Sociology of Religion, Reframing,
     Reconciling, and Individualizing: How LGBTQ Activist Groups Shape Approaches to
     Religion and Sexuality (2020).

  10. Attached as Exhibit H: American Sociological Association, Creating Safe Spaces:
      Opportunities, Resources, and LGBTQ Student Groups at U.S. Colleges and Universities
      (2020).

  11. Attached as Exhibit I: Mid-South Sociological Association, Theologies of Exclusion:
      Christian Universities and Discrimination against Sexual Minorities (2018)

  12. Attached as Exhibit J: American Psychological Association, Sexual Minority Students in
      Non-Affirming Religious Higher Education: Mental Health, Outness, and Identity (2016)

  13. Attached as Exhibit K: Professional Psychology Groups urge the U.S. Department of
      Education to Protect LGBTQ+ Students at Religious Colleges and Universities

  14. Attached as Exhibit L: Executive Order 14021, Guaranteeing an Educational
      Environment Free From Discrimination on the Basis of Sex, Including Sexual
      Orientation or Gender Identity (Mar. 8, 2021).

  15. Attached as Exhibit M: Department of Justice, Application of Bostock v. Clayton County
      to Title IX of the Education Amendments of 1972 (Mar. 26, 2021).

  16. Attached as Exhibit N: Department of Education, Notice of Interpretation: Enforcement
      of Title IX of the Education Amendments of 1972 with Respect to Discrimination Based
      on Sexual Orientation and Gender Identity in Light of Bostock v. Clayton County (June
      16, 2021).

  17. Attached as Exhibit O: Comment on Proposed Rule Regarding Nondiscrimination on the
      Basis of Sex in Education Programs or Activities Receiving Federal Financial
      Assistance, signed by Attorney Generals of Pennsylvania, California, New Jersey,
      Delaware, Maine, Hawaii, Maryland, Illinois, Minnesota, Iowa, Nevada, Kentucky, New
      Mexico, North Carolina, Oregon, District of Columbia, Rhode Island, Vermont, and
      Washington (Jan. 30, 2019).


JOSIAH ROBINSON DECLARATION                                                                    2
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   18. Attached as Exhibit P: United Nations, Report on Conversion Therapy, Independent
       Expert on protection against violence and discrimination based on sexual orientation and
       gender identity, U.N. Doc. A/HR/44/53 (May 2020).

   19. Attached as Exhibit Q: American Journal of Public Health, Sexual Orientation Change
       Efforts, Adverse Childhood Experiences, and Suicide Ideation and Attempt Among Sexual
       Minority Adults (July 2020).

   20. Attached as Exhibit R: Journal of Gay & Lesbian Social Services, Fighting for survival:
       The experiences of lesbian, gay, bisexual, transgender, and questioning students in
       religious colleges and universities (Jan. 20, 2017).

   21. Attached as Exhibit S: Gallup, LGBT Identification Rises to 5.6% in Latest U.S. Estimate
       (Feb. 24, 2021); Gallup, One in 10 LGBT Americans Married to Same-Sex Spouse (Feb.
       24, 2021).

   22. Attached as Exhibit T: INSIDER, Oral Roberts' surprising NCAA Tournament run is
       shedding light on the school's 'homosexual activity' ban and conversion therapy practices
       (Mar. 23, 2021); NBC News, Transgender student suspended from Christian college
       after top surgery (Aug. 9, 2019); NPR, Christian Colleges Are Tangled In Their Own
       LGBT Policies (Mar. 27, 2018); Tulsa World, Oklahoma student speaks out about being
       expelled from Christian college after same-sex wedding (Jul. 16, 2014).




    Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true and
correct, and that this declaration was executed this 4th day of August, 2021.



                                              By: s/ Josiah Robinson
                                              Josiah Robinson




JOSIAH ROBINSON DECLARATION                                                                       3
